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        ATTACHMENT B
      Case 4:09-cr-00043-SPF Document 549-2 Filed in USDC ND/OK on 04/07/14 Page 2 of 5
            FORM 5914                                                   Department of the Treasury- Internal Revenue Service
             MAY 1978                                              RELEASE AND RECEIPT OF PROPERTY
TO:                                                                                                        CASE NO.                 DATE
LINDSEY SPRINGER                                                                                            750530384               09/19/2005




DESCRIPTION OF PROPERTY
40GB Hitachi Travelstar Hard Drive
Serial# CSH405DCJMX86B




You are hereby authorized to release the above-described property to: (Name and address).




Storage costs for this property from           to          will be paid by the Internal Revenue Service. The recipient of the property will be

responsible for all storage charges incurred by the property after               Please return the completed original and        copies of this form to

this office, and furnish one copy to the property recipient.
SIGNATURE




                                                                        RELEASE

I hereby certify that on 09/16/2005, I released this property as shown below.

SIGNATURE                                                                               TITLE                               FIRM REPRESENTED (if any)


                                                                                        Special Agent

                                                                       RECEIPT




I hereby acknowledge receipt of this property on 09/16/2005, from, (Name of releasing finn or government agency):IRS-CI




SIGNATURE                                                               TITLE                                         PERSON, FIRM, OR
                                                                                                                      GOVERNMENT AGENCY
                                     9'------                                                                         REPRESENTED



                                                                  _ . . . L __ _ _ _ _ _ _ _ _.L.__ _ _ _ _ ._ _




"'U.S.GP0:1991-282..014/43081                                  Cat No. 42911 U                                                         Form 5914 (5· 78)




                                                                                                                                          SW04718
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                                                Transfer of Evidence
                                                  Chain of Custody

Date Obtained:         09/16/2005                                    Investigation Name:           Lindsey Springer
                       ~~~~~----------------


                                                                     Investigation Number: _7:..c5:..:0:..:5:..:3:..:0:..:3:..:84-'------------

Source of Items:       Seized pursuant to a search warrant at Lindsey
                       Springer's residence


List the item numbers on the attached inventory which are included in this Chain of Custody. OR: Briefly
describe the property being transferred via this Chain of Custody.


From Control# 5 on attached inventory: Title for Lexus GS 430 Sedan, Application for Oklahoma
Certificate of Title for a Vehicle, Odometer Disclosure Statement, Sales Invoice for Lexus GS 430 Sedan

From Control #13 on attached inventory: Title for 2001 FRHT HC - North Carolina, Title for 2005
Cargo Craft Trailer along with Bill of Sale and receipts




                                                Keep Original with Evidence
From: (~rinted name)                            To: (~rinted name)                            Purposes:
SA Brian Shern                                  Lindsey Sprinqer                              Return of evidence to Mr. Sprinqer
From:      atur'P(f                                          t '131    L.                     Date:
  ,/w        .,....                 /         /          1/Ac-"'
                                                           . ~              H?,     .,                ;rh11/or
From: (~rinted name)
                                    ,___.....
                                              1-'1'6: lorinted' n~ e\
                                                        '-"
                                                                      ' 71
                                                                          v    ,/    I
                                                                                              Purooses:
                                                                                                          •

From: (signature}                            To: (signature}                                  Date:


From: (printed name}                         To: {printed name}                               Purposes:

From: (signature}                            To: (signature}                                  Date:

From: (~rinted name)                         To: {printed name}                               Purposes:

From: (signature}                            To: {signature}                                  Date:


From: (printed name}                         To: {printed name}                               PurQoses:

From: {signature}                            To: {signature)                                  Date:




                                                                                                                                  SW04714
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                                                                        Seizure Case Number: Z5051.ft>507
                                                                     Evidence <$500 Number:
                                                                              Aftrak Number: -,-~----o;
                                                                                                     ...-a---=6J=o-o--.-B(rc-

                               INTERNAL REVENUE SERVICE
                                   RELEASE OF CLAIM

  This agreement is made between
     .(.IA11)61f.Y K.    SP~INfltg
              (Name)

  and the Internal Revenue Service of the United States Department of the Treasury. This
  agreement is made in consideration of the retum of:
     $1'7, ooo.oo              cJ.s.



                                                    (Description of Property)

  registered to/owned by:
   L IAI/J.SG')I    K. sP& INM!/l.
                                                      (Name and Address)

  which was seized pursuant to Title 18 U.S.C. Section 981 or 982/Title 26 U.S.C. Section 7302 in
  the course of a criminal or civil investigation, and for other consideration, the receipt of which is
  hereby acknowledged.

  Being the        OWNER AND/OR AUTHORIZED AGENT                            of the property as evidence by a
                            (Type of Interest)
  f'A:~~tz ~tz::..:r»M-1
                                            (Title, Registration, Contract, Note, Etc.)
  dated       t>1 1/t,/Zoa.<£
  The registrant/owner hereby agrees to unconditionally release and hold harmless the Internal
  Revenue Service, its officers, employees and agents, from any and all claims, demands, damages,
  causes of action or suits, whether in official or individual capacity, of whatever kind and
  description, and wheresoever situated, that might now exist or hereafter exist by reason of, or
  growing out of, or affecting, directly or indirectly, the seizure, custody or return of the above-
  described property.

  Executed this                                                                    , 2o     oro



                                                                                      Signature of Witness




                                                                                                                          SW04715
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            FORM 5914                                                           Department of the Treasury- Internal Revenue Service
             MAY1978
                                                                            RELEASE AND RECEIPT OF PROPERTY
TO:                                                                                                                CASE NO.                  DATE




DESCRIPTION OF PROPERTY




You are hereby authorized to release the above-described property to: (Name and address).

  ? MtJ6E.Y 1<. !!:.PRIN. G.ER.                     ~-'
                                                   -~     _.,.....



Storage costs for this property from 00/00/00 to 00/00/00 will be paid by tho Internal Revenue Service. The recipient of the property will be

responsible for all storage charges incurred by the property after 00/00/00. Please return the completed original and no other copies of this
form to this office, and furnish one copy to the property recipient.
SIGNATURE                                                                                                           TITLE

                                                                                                                                Special Agent
                                                                                                                         Asset Forfeiture Coordinator

                                                                                RELEASE

I hereby certify that on   '/lo/tJS;, I released this property as shown below.
SIGNATURE                                                                                      TITLE                               FIRM REPRESENTED (if any,


                                                                                               Special Agent                       IRS-CI

                                                                                RECEIPT



                                                             1
1hereby acknowledge receipt of this property on                 /to/oc, from, (Name of releasing firm or government agency): / fl.6 -t:..l



SIGNATURE                                                                        TITLE                                        PERSON, FIRM, OR
                                                                                                                              GOVERNMENT AGENCY
                                                                                                                              REPRESENTED




*U.S. GPO: 1991·282-0 14/43081                                         Cat. No. 42911U                                                         Form 5914 (5· 78




                                                                                                                                                SW04716
